08-51032 - #51 File 03/04/11 Enter 03/04/11 14:42:36 Main Document Pg 1 of 10
08-51032 - #51 File 03/04/11 Enter 03/04/11 14:42:36 Main Document Pg 2 of 10
08-51032 - #51 File 03/04/11 Enter 03/04/11 14:42:36 Main Document Pg 3 of 10
08-51032 - #51 File 03/04/11 Enter 03/04/11 14:42:36 Main Document Pg 4 of 10
08-51032 - #51 File 03/04/11 Enter 03/04/11 14:42:36 Main Document Pg 5 of 10
08-51032 - #51 File 03/04/11 Enter 03/04/11 14:42:36 Main Document Pg 6 of 10
08-51032 - #51 File 03/04/11 Enter 03/04/11 14:42:36 Main Document Pg 7 of 10
08-51032 - #51 File 03/04/11 Enter 03/04/11 14:42:36 Main Document Pg 8 of 10
08-51032 - #51 File 03/04/11 Enter 03/04/11 14:42:36 Main Document Pg 9 of 10
08-51032 - #51 File 03/04/11 Enter 03/04/11 14:42:36 Main Document Pg 10 of 10
